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                  21-1365
              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SECOND CIRCUIT
___________________________________________________________________________________________________________________


SELINA SOULE, a minor, by Bianca Stanescu, her mother; CHELSEA
 MITCHELL, a minor, by Christina Mitchell, her mother; ALANNA
  SMITH, a minor, by Cheryl Radachowsky, her mother; ASHLEY
     NICOLETTI, a minor, by Jennifer Nicoletti, her mother,
                                                          Plaintiffs-Appellants,
                                                        v.
    CONNECTICUT ASSOCIATION OF SCHOOLS, INC. d/b/a
CONNECTICUT INTERSCHOLASTIC ATHLETIC CONFERENCE;
  BLOOMFIELD PUBLIC SCHOOLS BOARD OF EDUCATION;
   CROMWELL PUBLIC SCHOOLS BOARD OF EDUCATION;
 GLASTONBURY PUBLIC SCHOOLS BOARD OF EDUCATION;
CANTON PUBLIC SCHOOLS BOARD OF EDUCATION; DANBURY
        PUBLIC SCHOOLS BOARD OF EDUCATION,
                                                         Defendants-Appellees,
                                                      and
     ANDRAYA YEARWOOD; THANIA EDWARDS on behalf of her
     daughter, T.M.; CONNECTICUT COMMISSION ON HUMAN
                           RIGHTS,
                                 Intervenors-Appellees.
_________________________________________________________________
  On Appeal from the United States District Court for the District of
             Connecticut, Case No. 3:20-cv-00201 (RNC)
_________________________________________________________________

              OPENING BRIEF OF APPELLANTS
_________________________________________________________________
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                 Appellants Request Oral Argument
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            CORPORATE DISCLOSURE STATEMENT
     As private individuals, Selina Soule, Chelsea Mitchell, Alanna
Smith, and Ashley Nicoletti (collectively, Plaintiffs) have no parent
corporation and no stockholders.




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                  JURISDICTIONAL STATEMENT
      This case arose when four female athletes sued in the United
States District Court for the District of Connecticut under Title IX to
the Education Amendments, see 20 U.S.C. § 1681(a), to vindicate their
federal statutory rights. The district court exercised federal question
jurisdiction under 28 U.S.C. §§ 1331 and 1343 and had authority to
grant the requested equitable relief under 28 U.S.C. § 1343.

      Plaintiffs moved for a preliminary injunction that would have
stopped the Connecticut Interscholastic Athletics Conference and its
member schools from violating Plaintiffs’ civil rights under Title IX. But
the district court never ruled on the motion. Instead, the court granted
Defendants’ motion to dismiss on April 26, 2021. Plaintiffs then timely
filed their notice of appeal on May 26, 2010. See Fed. R. App. P.

4(a)(1)(A).
      This Court has appellate jurisdiction under 28 U.S.C. § 1291.




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                     STATEMENT OF THE ISSUES

     1.     To have standing, Plaintiffs must plead an injury that a
favorable court decision will redress. Plaintiffs have identified specific
races they would have won but for the Policy and have alleged that
official records do not give them the fair recognition they deserve.

Moreover, these inaccurate records could harm Plaintiffs’ prospects at
college recruitment and future employment. Do Plaintiffs have a
redressable injury?
     2.     Under Title IX, female athletes suffer an injury when a
school erects a barrier that hinders their ability to compete. The
Connecticut Interscholastic Athletics Conference enacted a Policy that

allows biological males to compete in female athletics, thus diminishing
female athletes’ opportunities to compete and achieve victory. Does this
barrier give plaintiffs Alanna Smith and Ashley Nicoletti a live

controversy against CIAC’s Policy?
     3.     A compensatory action under Title IX requires that schools
have notice that their conduct violated the statute. CIAC intentionally

adopted a policy that discriminates against female athletes. Did CIAC
and its member schools have sufficient notice that their conduct
violated Title IX?

     4.     This Court can reassign a case on remand if, at the very
least, an objective observer would question the district judge’s
impartiality. Here, the district judge refused to rule on Plaintiffs’


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motion for a preliminary injunction, diminished Plaintiffs’ interests in
athletic achievements, and ordered Plaintiffs to refrain from calling the

transgender athletes biological males, even though that was the center
of Plaintiffs’ theory of the case. At minimum, would an objective
observer question the district judge’s partiality?




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                      STATEMENT OF THE CASE

     A.     Statutory Background
     Female athletes have suffered historic discrimination. Although

“[p]articipation in athletics has long been viewed as an integral part of
the educational process in American high schools and colleges,” women
have faced significant hurdles just to participate. More Hurdles to

Clear: Women and Girls in Competitive Athletics, U.S. COMM’N ON CIV.
RIGHTS, at iii (July 1980). For a time, many public high schools did not
have girls’ sports teams, which drastically reduced the number of
women who could compete in college. Moreover, the average university
devoted a mere 2% of its athletic budget to women’s sports teams. Title
IX at 45, NAT’L COAL. FOR WOMEN & GIRLS IN EDUC. (2017). As a result,
for most of history, “women [have been] denied opportunities for athletic
competition and scholarships.” 130 Cong. Rec. 18,535 (1984) (statement
of Rep. Snowe).
     Fifty years ago, that started to change. “Congress itself recognized
that addressing discrimination in athletics presented a unique set of
problems.” Kelley v. Bd. of Trs., 35 F.3d 265, 270 (7th Cir. 1994). To

address this as well as other disparities in education, in 1972, Congress
enacted Title IX of the Education Amendments. Title IX provides that
“[n]o person in the United States shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to




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discrimination under any education program or activity receiving
Federal financial assistance.” 20 U.S.C. § 1681(a).

     From the start, the implementing regulations defined “program or
activity” to include interscholastic athletics. 34 C.F.R. § 106.41(a). That
“triggered an athletic revolution that changed the face of intercollegiate

athletics.” Jodi Hudson, Complying with Title IX of the Education
Amendments of 1972: The Never-Ending Race to the Finish Line, 5
SETON HALL J. OF SPORT L. 575, 575 (1995). Before Title IX, less than

5% of women participated in high school sports; by 2019, that number
skyrocketed to 43%. Chris W. Surprenant, Accommodating Transgender
Athletes, 18 GEO. J. OF L. & PUB. POL’Y 905, 908 (2021). Title IX has

effected a similar change in collegiate sports, with women making up
only 3% of college athletes in 1971 but today making up 43.5%. Id.
     As a result, “[w]omen and girls today have the opportunity only
boys and men had in the previous period to reap the widely recognized
and highly valued benefits of being physically strong, of being on teams
and developing the myriad skills associated with competitive sport, of

attending college on athletic scholarships, and of high-end competitive
experiences.” Doriane Lambelet Coleman, Michael J. Joyner & Donna
Lopiano, Re-Affirming the Value of the Sports Exception to Title IX’s
General Non-Discrimination Rule, 27 DUKE J. OF GENDER L. & POL’Y 69,
72 (2020). In short, Title IX has “enhanced, and will continue to
enhance, women’s opportunities to enjoy the thrill of victory [and] the


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agony of defeat.” Neal v. Bd. of Trs. of Cal. State Univs., 198 F.3d 763,
773 (9th Cir. 1999).

     B.     Factual Background
     In Connecticut, however, female track athletes have experienced
the “agony of defeat” disproportionately to the “thrill of victory”—and

disproportionately to the experience of male athletes. That’s because
the Connecticut Interscholastic Athletic Conference adopted a policy
that bases participation in women’s athletics solely on a student-
athlete’s “gender identification.” JA149. Under this Policy, if a biological
male identifies as female, then that athlete can compete in women’s
events—even though “scientists agree that males and females are

materially different with respect to the main physical attributes that
contribute to athletic performance.” Re-Affirming the Value of the
Sports Exception, 27 DUKE J. OF GENDER L. & POL’Y at 92 (cleaned up).

That difference means that “even the very best females are not
competitive for the win against males.” Id. at 115; accord JA34 (“[L]arge
numbers of men and even adolescent boys are able to outperform the

very top-performing women.”). Biological males, if allowed to compete,
will dominate women’s sports.
     That is exactly what happened in Connecticut’s high school track

and field. In 2017, Andraya Yearwood, a biologically male athlete who
identified as female, started running in women’s track and field. JA150.
Unsurprisingly, Yearwood, even as a freshman, claimed two State Class


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championships that year.1 JA151. Yearwood also went on to rank third
in the State Open championship. JA153.

     Male dominance became starker in 2018. That year, Terry Miller,
another biologically male athlete who identified as female, switched
from competing in boys’ track to girls’ track events. JA153. Despite

never advancing to a State Class or State Open championship as a male
runner, Miller took first prize at the women’s 2018 State Open
championship, with Yearwood as the runner-up. JA153–54. Chelsea

Mitchell, a freshman at the time, finished in fourth place. JA154.
     The 2019 events saw similar results. In a preliminary State Class
race, Miller and Yearwood ranked second and third place, respectively,

bumping freshman athlete Ashley Nicoletti from qualifying for the final
State Class race. JA157. And in one preliminary State Open
championship race, Miller and Yearwood took the top slots—preventing
Selina Soule from advancing to the final State Open championship race.
JA155. In that final State Open race, Miller and Yearwood again took
the top prizes, leaving Chelsea Mitchell—the fastest female in the


1Connecticut track and field involves multiple tiers of competition.
First, athletes may qualify to compete in statewide “Class” races based
on school size. JA150. “[T]he top-performing students within each State
Class championship qualify to participate in the State Open
championships,” wherein the top State athletes compete against each
other regardless of school size. Id. Finally, “the top performers in the
State Open championships qualify to participate in the New England
Championship.” Id.


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state—to finish in third place. JA155. Chelsea and another female
athlete, Alanna Smith, also lost to Miller in another State Open

championship race that year. JA158.
     Overall, from 2017 through 2019, Yearwood and Miller, two
biologically male athletes, won 13 girls’ state-championship titles and

occupied more than 68 opportunities to advance to and participate in
exclusive higher-level competitions—opportunities that would otherwise
have gone to females. JA159. In fact, in seven important state-level

events, Yearwood and Miller won 13 out of 14 “girls” championships,
leaving a female runner to win just one. Id. (Needless to say, in the boys
division, males won all 14 parallel “boys” championships.)

     Female athletes like Plaintiffs Selina Soule, Chelsea Mitchell,
Alanna Smith, and Ashley Nicoletti have each personally felt the
Policy’s impact. They trained hard to shave fractions of seconds off their
race times so they could compete in state and regional meets, stand
atop the winners’ podium, and perhaps even secure college athletic
scholarships and gainful employment beyond. JA72, 164. Yet those

dreams were dashed, as the Policy forced them to compete—and lose—
to biological males.
     In 2020, Selina and Chelsea graduated from high school. So did
Yearwood and Miller. Since then, Alanna and Ashley have continued to
compete in CIAC-sponsored high school track events. They intend to do
so in the next school year.


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     C.     Procedural History
     The world that these female athletes experienced is not the world
that Title IX intended. So these four athletes sued CIAC and five
Connecticut high schools, alleging that the Policy violates Title IX, both
by failing to provide female athletes with equal treatment, benefits, and
opportunities, and by failing to provide female athletes with effective
accommodations for their interests and abilities. The Plaintiffs sought

prospective relief: a declaration that the Policy violates Title IX, and an
injunction against its continued enforcement. They also sought
retrospective relief for the harms imposed by the Policy: an additional
injunction that would require CIAC and its member schools to correct
all athletic records by properly crediting the achievements and
championships of female athletes, including Plaintiffs.2

     On February 12, 2020, Plaintiffs, concurrent with the filing of
their complaint, moved for a preliminary injunction. But here as on the
track, Plaintiffs were denied a fair chance. Even after Plaintiffs

requested an expedited hearing on their motion, the district court never
even required Defendants to file a brief in response, never conducted
any argument or hearing on it, and never ruled on the motion until

denying it as moot nearly 14 months later.




2Since Selina and Chelsea have graduated, only Alanna and Ashley
seek prospective relief against the Policy.


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     By contrast, when—soon after Plaintiffs filed suit—Yearwood and
Miller moved to intervene as defendants, the district court set a prompt

hearing on that motion. And at that hearing, the district judge, on his
own initiative and without any request from Defendants, ordered
Plaintiffs’ counsel to “not refer to the proposed intervenors as ‘males’”

but rather as “‘transgender females.’” JA104. Plaintiffs’ counsel
represented that doing so would prevent him from vigorously
representing Plaintiffs’ interests. JA106. Plaintiffs’ arguments, after all,

hinge on the biological distinctions between the male and female
sexes—on the fact that, when “males and females are not in fact
similarly situated and when the law is blind to those differences, there

may be as much a denial of equality as when a difference is created
which does not exist.” Yellow Springs Exempted Vill. Sch. Dist. Bd. of
Educ. v. Ohio High Sch. Athletic Ass’n, 647 F.2d 651, 657 (6th Cir.
1981).
     Nonetheless the district court dismissed this interest. The court
declared that “[t]his isn’t a case involving males who have decided that

they want to run in girls’ events. This is a case about girls who say that
transgender girls should not be allowed to run in girls’ events.” JA104.
Moreover, the court asserted that referring to Yearwood and Miller as
“transgender females,” rather than biological males, was “more
accurate” and “consistent with science, common practice and perhaps
human decency.” JA107. And the court essentially accused Plaintiffs’


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counsel of “bullying” by calling Yearwood and Miller biological males.
Id. If Plaintiffs’ counsel had an issue with the order, the judge told him

to take it up with this Court.3 Id. The district court then granted
Yearwood and Miller’s motion to intervene.
     Shortly thereafter, Defendants moved to dismiss the case. By the

time the court finally ruled on the motion, Yearwood and Miller had
graduated. On that basis, the court held that Plaintiffs’ request for
injunctive relief against the Policy’s enforcement was moot. For, the

court said, it was those athletes’ “participation in girls’ track that
provided the impetus for this action.” JA271. Without them or any other
identifiable transgender athletes as competitors, the court reasoned

that the Plaintiffs lacked an identifiable interest “in seeking to enjoin
enforcement of the CIAC policy.” JA271–72.
     Not only that, but the court also held that the Plaintiffs lacked
standing to seek an injunction requiring corrections to past athletic
records. The court failed to acknowledge the inherent value in
recognizing Plaintiffs’ accomplishments and championships. And the

court discounted the Plaintiffs’ concerns about the effect of accurate

3 Plaintiffs promptly did so. First, Plaintiffs requested that the district
judge correct the error himself through the process of disqualification.
See 28 U.S.C. § 455(a). The district judge instead doubled down on his
position and denied the motion. Plaintiffs then petitioned this Court for
mandamus to reassign the case. Because mandamus is a “drastic and
extraordinary” interlocutory remedy, Cheney v. U.S. Dist. Court for
D.C., 542 U.S. 367, 380 (2004), this Court denied the petition.


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records on future employment as speculative. To the district court, a
prospective employer might not care about Plaintiffs’ athletic

achievements. Even if they did care, the court mused that an employer
would look at a corrected record but nevertheless discover that female
athletes like Chelsea didn’t “actually” take first place.

     Finally, the court dismissed Plaintiffs’ request for damages
because the court did not think that CIAC and its member schools
received adequate notice that the Policy violated Title IX.

     Plaintiffs then timely filed a notice of appeal.

                     SUMMARY OF ARGUMENT
     CIAC’s Policy actively harms female athletes, including Plaintiffs.

Because biological males can compete in Connecticut women’s events,
female athletes like Plaintiffs are robbed of the numerous benefits that
fair competition affords. That includes the “chance to be champions.”

McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d
275, 295 (2d Cir. 2004). It also includes the chance to be recognized as
champions. And in a society that places a high value on athletic

achievements, the Policy forces Plaintiffs to lose a competitive edge
when trying to earn college scholarships or when entering the
workforce. These harmful effects could be remedied by an injunction

that requires CIAC and its member schools to remove biologically male
competitors from the girls’ division athletic records. These corrected
records would then accurately reflect Plaintiffs’ competitive victories


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against other biologically female athletes and allow them to report such
victories to colleges and employers. The district court erred in holding

that Plaintiffs did not have a redressable injury.
     Not only does the Policy rob female athletes of the recognition
they deserve, it also “creates a barrier” that keeps them from competing

on an equal footing. Pederson v. La. State Univ., 213 F.3d 858, 871 (5th
Cir. 2000). It robs them of “genuine athletic participation opportunities.”
Biediger v. Quinnipiac Univ., 691 F.3d 85, 101 (2d Cir. 2012) (emphasis

added). Alanna and Ashley—who will continue to run track next year
under the Policy’s shadow—need not identify a specific transgender
athlete to have an active interest in enjoining the Policy, for the Policy

itself harms them. Accordingly, the district court erred when it held
that Plaintiffs’ request for injunctive relief against the Policy was moot.
     Finally, CIAC and its member schools did not need but had more
than adequate notice that the Policy violated Title IX. Federal funding
recipients, like CIAC and its member schools, need prelitigation notice
that their conduct violates Title IX “only when the alleged Title IX

violation consists of an institution’s deliberate indifference to acts that
do not involve official policy of the recipient entity.” Mansourian v.
Regents of Univ. of Cal., 602 F.3d 957, 967 (9th Cir. 2010) (cleaned up).
Yet “decisions with respect to athletics are . . . easily attributable to the
funding recipient and always—by definition—intentional.” Id. at 968
(cleaned up). CIAC and its member schools therefore had sufficient


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notice when they intentionally enacted a discriminatory Policy that
allows biological males to compete against female athletes.

     When this Court remands for reconsideration, it should reassign
this case. To do so, this Court need only find that a reasonable observer
would question the district judge’s partiality. Ligon v. City of N.Y., 736

F.3d 118, 128 (2d Cir. 2013) (per curiam). That standard is lower than
the one implicated by Plaintiffs’ earlier mandamus petition. Here, after
sitting on Plaintiffs’ motion for a preliminary injunction for over a year

without even requiring Defendants to brief a response, the district
judge commented on “the ultimate issue to be determined by a jury,”
Haines v. Liggett Grp., Inc., 975 F.2d 81, 98 (3d Cir. 1992) (en banc), as

amended (Sept. 17, 1992), and he did so in a way that would cause a
reasonable observer to question his partiality. To preserve the
“appearance of justice,” this Court should therefore reassign the case on
remand. Ligon, 736 F.3d at 128.




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I.   Female athletes have a right to have their victories
     properly acknowledged. Yet CIAC’s current athletic
     records do not fairly or accurately recognize female
     achievements. Plaintiffs have a redressable injury in
     seeking to correct these records.

       A.    Standard of Review
     This Court reviews “de novo the district court’s decision to dismiss

plaintiffs’ complaint for lack of standing pursuant to Federal Rule of
Civil Procedure 12(b)(1), construing the complaint in plaintiffs’ favor
and accepting as true all material factual allegations contained

therein.” Dubuisson v. Stonebridge Life Ins. Co., 887 F.3d 567, 573 (2d
Cir. 2018) (citation omitted).

       B.    CIAC’s discriminatory Policy deprived female
             athletes like Plaintiffs of their fair chance to be
             champions. Athletic records now codify and
             exacerbate that injury. An injunction requiring
             Defendants to correct their records would redress
             this injury.
     To have standing, Plaintiffs must “allege personal injury fairly
traceable to the defendant’s allegedly unlawful conduct and likely to be

redressed by the requested relief.” DaimlerChrysler Corp. v. Cuno, 547
U.S. 332, 342 (2006) (cleaned up). Redressability requires only a “non-
speculative likelihood that the injury can be remedied by the requested
relief.” Libertarian Party of Erie Cnty. v. Cuomo, 970 F.3d 106, 116 (2d
Cir. 2020). Here, Plaintiffs have identified specific races and
opportunities that they lost because the Policy allowed biological males




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to compete. As a result, CIAC records do not recognize Plaintiffs’ actual
achievements—an inherent harm that the courts can redress.

     Start with Chelsea. In 2017, Chelsea “would have had the nearly
unprecedented opportunity to qualify as a freshman for the New
England Regional Championships”—but the Policy allowed Yearwood to

compete against her and take away this opportunity. JA152. Then, in
2018, Chelsea “would have won second place statewide” but lost to
Yearwood and Miller to rank fourth instead. JA154. Moreover, in 2019,

Chelsea claimed a silver medal at the State Class championship—but
would have claimed a gold medal if the Policy did not permit Miller to
compete against her. Finally, and most egregiously, but for the Policy,

Chelsea “would have made her school’s history as the first female
athlete . . . ever to be named State Open Champion.” JA156. Instead,
she finished behind Yearwood and Miller and “was repeatedly referred
to in the press as the ‘third-place competitor.’” JA74, 156. Twice that
year, Chelsea lost out on her “chance to be [a] champion[ ].” McCormick,
370 F.3d at 295. Overall, Chelsea “lost four state championship titles,

two All New England awards, medals, points and publicity,” all because
the Policy allowed biological males to compete against her. JA69.
     The other Plaintiffs have similar stories. In 2019, Alanna—even
as a freshman—would have finished runner-up at a State Open
Championship event; instead, the Policy caused her to finish third.
JA158. And, but for the Policy, Ashley “would have advanced to the


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next level of competition in . . . [a] state championship . . . and competed
for a spot at the State Open Championship.” JA157. Likewise, in 2019,

the Policy kept Selina from advancing beyond a preliminary race to the
championship finals. In all three instances, the Policy allowed biological
males to compete against Selina, Alanna, and Ashley and deprive them

of the “thrill of victory.” Neal, 198 F.3d at 773.
      Athletes compete to win. “The greater the potential victory, the
greater the motivation to the athletes.” McCormick, 370 F.3d at 294.

Like Chelsea, each Plaintiff worked hard to “shave mere fractions of
seconds off” her run time. JA72. They “trained harder than ever,”
“never missed a practice,” “squeezed in extra workouts where [they]

could.” Id. Though Title IX promised these girls “the chance to be
champions”—something this Court has described as “fundamental to
the experience of sports,” McCormick, 370 F.3d at 295—the Policy made
that promise “illusory,” Biediger, 691 F.3d at 101. By permitting male
competition, the Policy deprived female athletes like Plaintiffs of their
fair chance.

      Athletic records now give that deprivation a lasting and public
stamp of official approval. Instead of accurately recognizing the fair
results of Plaintiffs’ hard work, CIAC’s records instead showcase the
subjugation of female achievement. These records “send[ ] a message to
the girls . . . that they are not expected to succeed and that the school
does not value their athletic abilities as much as it values the abilities


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of the boys.” McCormick, 370 F.3d at 295. Chelsea, for instance, averred
that the lack of fair recognition came as a “gut punch” that left her

feeling defeated and upset that “many great female athletes” have been
“wiped from the books.” JA74, 78.
     That is a redressable harm. Imagine a female athlete who was

erased from the record books by a competitor who did not play by the
rules. No one would question whether that female athlete has a
redressable harm. The same is true of female athletes denied

recognition by being forced to compete against biological males. If Title
IX affords female athletes the “chance to be champions,” then it also
affords them the right to be recognized as champions. See McCormick,

370 F.3d at 295. Title IX “not only requires schools to establish athletic
programs for female athletes, but also prohibits schools from
discriminating against females participating in those programs by
denying equivalence in benefits,” such as championship recognition. See
Parker v. Franklin Cnty. Cmty. Sch. Corp., 667 F.3d 910, 916 (7th Cir.
2012). Boys who compete in CIAC-sponsored events do not worry that

their achievements will be “erased” or “wiped from the books” due to
unfair competition. An injunction requiring CIAC to properly recognize
female victories would extend that same benefit to female athletes.
     CIAC itself recognizes the value in accurate athletic records that
recognize fair competition. CIAC’s most recent handbook notes that, if
an athlete “participated while under the influence of performance


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enhancing substances,” that athlete’s victories would be “declared
forfeitures” and “all records will be expunged.” Connecticut

Interscholastic Athletic Conference, 2019–2020 Handbook at 103,
https://perma.cc/8UVS-6NLD. If athletes did not have an inherent
interest in having their achievements recognized, CIAC would not need

to correct records that were distorted from unfair competition. The fact
that CIAC does so belies the district court’s conclusion that female
athletes like Plaintiffs lack standing to correct the athletic records.

      The district court, in fact, never discussed the inherent value to
female athletes of having their achievements properly recognized.
Instead, the court focused solely on athletic records’ utilitarian value.

While Plaintiffs contend that accurate records serve an important
utilitarian purpose, Plaintiffs primarily seek to vindicate their interest
in “showcas[ing] their athletic ability and competitiveness.” Parker, 667
F.3d at 916.
      Inaccurate records harm Plaintiffs as competitive athletes. When
records fail to appropriately credit female achievements, athletes like

Plaintiffs feel “erased.” JA74. Such a stigmatizing injury “is one of the
most serious consequences of discriminatory government action and is
sufficient . . . to support standing . . . to those persons who are
personally denied equal treatment.” Allen v. Wright, 468 U.S. 737, 755
(1984). No less than any other athlete, Plaintiffs want their hard work
accurately and fairly recognized. They especially want their


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achievements valued as much as boys’ achievements. See McCormick,
370 F.3d at 296. CIAC’s current records deny them that benefit. An

injunction requiring CIAC to correct those records would redress
Plaintiffs’ injury.

      C.     Athletic records also affect Plaintiffs’ college
             recruitment and future employment opportunities. An
             injunction requiring the Defendants to correct those
             records would redress Plaintiffs’ utilitarian injuries.
      Not only do Plaintiffs have a sufficient interest in vindicating
their right to be recognized as champions, but they also have a
utilitarian interest in correcting the athletic records. “When a student’s
record contains negative information derived from allegedly

unconstitutional school regulations . . . that information may jeopardize
the student’s future employment or college career.” Flint v. Dennison,
488 F.3d 816, 824 (9th Cir. 2007); Hatter v. Los Angeles City High Sch.

Dist., 452 F.2d 673, 674 (9th Cir. 1971). Here, Alanna and Ashley have
sound reason to fear missing out on college recruitment opportunities
because the current records do not accurately testify to their

achievements. So, too, could these records affect all four Plaintiffs’
prospects at future employment, even years down the road. “State
champion” on a résumé speaks loudly to employers about qualities of

grit, determination, and hard work.
      But if the records are amended, Plaintiffs could then point to
official records that accurately reflect their achievements. That could


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open doors to “the many tangible benefits,” like college recruitment and
future employment opportunities, “that flow from just being given a

chance to participate in” interscholastic athletics. Neal, 198 F.3d at 773.
After all, Title IX was intended to “provide for the women of America
something that is rightfully theirs—an equal chance to attend the

schools of their choice, to develop the skills they want, and to apply
those skills with the knowledge that they will have a fair chance to
secure jobs of their choice with equal pay for equal work.” Cohen v.

Brown Univ., 101 F.3d 155, 167 (1st Cir. 1996) (quoting 118 Cong. Rec.
5808 (1972) (remarks of Senator Evan Bayh)) (emphasis added).
Plaintiffs thus have a second redressable interest in correcting the

inaccurate records.
     The district court dismissed the utilitarian value of accurate
athletic records as resting on “speculative guesswork.” Not so. Our
society places a high value on athletic achievements. And “[t]he
proposition that females don’t need to be competitive for the win is no
longer viable.” Re-Affirming the Value of the Sports Exception, 27 DUKE

J. OF GENDER L. & POL’Y at 119. Indeed, an overwhelming number of
female business executives—94%—participated and recorded
achievements in interscholastic sports. Title IX at 45, NAT’L COAL. FOR
WOMEN & GIRLS IN EDUC. It is neither speculative nor guesswork to
conclude that employers would find females’ athletic achievements
relevant. Most employers “will likely react in predictable ways” and


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consider Plaintiffs more favorably in light of their achievements. See
Dep’t of Com. v. New York, 139 S. Ct. 2551, 2566 (2019).

      The district court’s reasoning mirrors logic that courts have
routinely rejected in other circumstances. In Cohen, for instance, a
university tried to escape Title IX liability by arguing that “significant

disparity in athletic opportunities for men and women . . . is the result
of a gender-based differential in the level of interest in sports.” 101 F.3d
at 178. The university argued that it did not know women’s interest in

sports, so it should not have to satisfy its Title IX obligations based on
speculation. But the First Circuit rejected that argument and noted
that “[i]nterest and ability rarely develop in a vacuum; they evolve as a

function of opportunity and experience.” Id. at 179. Women’s interest in
sports was not speculative, the First Circuit reasoned, because it
predictably would evolve as an effect of a corrective action. (In other
words, if the university built opportunities, female athletes would come.
See FIELD OF DREAMS (Universal Pictures 1989)).
      That’s also true here. Contrary to what the district court

concluded, redressability “does not rest on mere speculation about the
decisions of third parties; it relies instead on the predictable effect” of
shining a spotlight on female athletes’ achievements. Dep’t of Com., 139
S. Ct. at 2566. Combine that statistic with the fact that 94% of female
business executives participated in interscholastic sports, and this
Court does not have to guess at employers’ interest in athletic


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achievements. Like the university in Cohen, Defendants cannot escape
liability by arguing that correct athletic records have an uncertain

impact on employers. If the Defendants correct those records, employers
will notice.
      Furthermore, those athletic records are just as relevant to college

recruiters and employers as a student’s disciplinary records. The
district court concluded that a “student’s disciplinary record is always
relevant to college recruiters and prospective employers,” while an

athletic record is not. JA278. But that belies the value employers place
on athletic accomplishments. At a minimum, athletic achievements
highlight valuable skill sets. For instance, athletes derive “goal setting,

persistence, problem solving, teamwork, managing emotions, and
managing time” from competitive sports. Reed Larson, David Hansen &
Giovanni Moneta, Differing Profiles of Developmental Experiences
Across Types of Organized Youth Activities, 42 DEV. PSYCH. 849, 850
(2006). And most student-athletes see athletic achievements as a way to
inform employers about these skills. Moreover, achievements can

“distinguish them[ ] from other[ ]” applicants. Nicolas Roulin & Adrian
Bangerter, Extracurricular Activities in Young Applicants’ Resumes:
What are the Motives Behind Their Involvement?, 48 INT’L J. OF
PSYCHOLOGY 871 (2013). Athletic achievements—and the accurate
records that attest to them—are much more relevant to an athlete’s
future prospects than the district court credited.


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     The district court derided Plaintiffs’ desire for accurate athletic
records because, even if Defendants correct their records to showcase

female achievements, a prospective employer would “learn that [the
female athlete] did not actually finish first.” JA277 (emphasis added).
Presumably, the district court meant that an employer would find out

that Chelsea did not cross the finish line first. Yet the court did not
explain why that fact would matter to an employer. Society values and
awards those who win according to the rules of the game, even if they

did not technically cross the finish line first. That’s why nearly every
sports league—including CIAC—has policies that allow them to correct
records when they discover an unfair advantage in competition. See,

e.g., Kevin Draper & Juliet Macur, Sha’Carri Richardson, A Track
Sensation, Tests Positive for Marijuana, N.Y. TIMES (July 6, 2021),
https://perma.cc/PYA4-9YWY (“U.S.A. Track & Field has notified other
women who competed in the 100-meter final at the trials about the
failed drug test, according to two people with direct knowledge of the
information, and several runners have been told that they have moved

up a spot in the final standings.”). And that’s why Country House is still
the winner of the 2019 Kentucky Derby, even if by disqualification. Pat
Forde, The Flukish, Fascinating Rise—and Sudden Disappearance—of
the 2019 Kentucky Derby Champion, SPORTS ILLUSTRATED (May 1, 2020)
(“After 125 seconds of racing last May 4, then a 22-minute delay for a
steward’s ruling that elevated the runner-up colt to first and


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disqualified Maximum Security, a garland of roses was laid across
Country House’s shoulders. Then the winner of the 2019 Kentucky

Derby all but disappeared. He’d come up out of nowhere to win the
Derby, then promptly returned there.” (emphasis added)). With
corrected records, Chelsea could rightfully claim two championships,

even if she did not cross the finish line first. And Alanna could claim
runner-up status rather than third place. It is “predictable,” not
speculative, that an employer would value those achievements. Dep’t of

Com., 139 S. Ct. at 2566.
     The district court’s reasoning here unfortunately echoes “archaic
and overbroad generalizations” about female athletic achievements.

Cohen, 101 F.3d at 179. Implicit in the district court’s analysis is the
idea that female achievement does not matter when juxtaposed against
male achievement—that a female athlete’s victory only counts if she
crossed the finish line before a male athlete. To the district court, an
employer would not credit a female athlete if she did not “actually
finish” ahead of a biologically male competitor. See McCormick, 370

F.3d at 296 (“Despite substantial progress in attitudes about women
and sports, the competitive accomplishments of male athletes may
continue to be valued more than the achievements of female athletes.”).
      This logic trivializes female athletes’ achievements. Note,
Cheering on Women and Girls in Sports: Using Title IX to Fight Gender
Role Oppression, 110 HARV. L. REV. 1627, 1630 (1997). And it would


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essentially force female athletes “on the sidelines to applaud the success
of their male counterparts” rather than receive recognition for their

own. Complying with Title IX, 5 SETON HALL J. OF SPORT L. at 575.
Fortunately, society at large does not credit female athletes’ achieve-
ments the way that the district court assumed. “The proposition that

showcasing strong female-bodied champions is not a high value social
good is no longer viable; see Serena Williams and Allyson Felix.” Re-
Affirming the Value of the Sports Exception, 27 DUKE J. OF GENDER L. &

POL’Y at 119 (emphasis added). The district court’s assumptions are
exactly the types of generalizations that Title IX sought to eradicate.
      An injunction that requires Defendants to correct athletic records

to recognize female athletes’ achievements would bolster Plaintiffs’
prospects for college recruitment and future employment. Plaintiffs
therefore have a redressable injury. The district court erred when it
concluded otherwise.

II.   CIAC’s discriminatory Policy actively harms female
      athletes. It imposes a barrier that forces female athletes
      like Plaintiffs to compete at a disadvantage. Their Title IX
      claims are not moot.

      A.     Standard of Review
      When a district court dismisses for lack of jurisdiction, including

for mootness, this Court reviews “the district court’s factual findings for
clear error and its legal conclusions de novo.” Radha Geismann, M.D.,
P.C. v. ZocDoc, Inc., 850 F.3d 507, 511 (2d Cir. 2017) (citation omitted).


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      B.     Defendants failed to demonstrate that Alanna and
             Ashley will not face male competition and thus failed
             to meet their burden.
      The burden to show that a controversy has become moot “logically

falls on a defendant.” Mhany Mgmt., Inc. v. Cnty. of Nassau, 819 F.3d
581, 603 (2d Cir. 2016). That burden “is a heavy one.” Los Angeles Cnty.
v. Davis, 440 U.S. 625, 631 (1979). For “[i]t is no small matter to deprive

a litigant of the rewards of its efforts. . . . Such action on grounds of
mootness would be justified only if it were absolutely clear that the
litigant no longer had any need of the judicial protection it sought.”
Adarand Constructors, Inc. v. Slater, 528 U.S. 216, 224 (2000) (per
curiam) (emphasis added).
      Defendants failed to make it “absolutely clear” that female
athletes like Alanna and Ashley will not face male competition in the
future. Over the last 3 years, biological males have competed in
women’s sports in Connecticut. That is “not a fluke.” Re-Affirming the
Value of the Sports Exception, 27 DUKE J. OF GENDER L. & POL’Y at 116.
“As [transgender] students . . . are increasingly comfortable coming out
at school . . . the number of ‘out’ trans kids is growing beyond the small
percentages described in earlier population surveys.” Id. at 115. That
growth “appears to be an upward trajectory” that shows no signs of
decline. Id. Defendants have access to school records and could show

that no biological male who self-identifies as female plans to compete in




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female athletic events. That they have not means that they failed to
meet their burden.

      The district court erroneously shouldered Alanna and Ashley with
the burden of showing a transgender competitor to avoid mootness. Yet
it was the Defendants’ burden, not Alanna and Ashley’s, to make it

“absolutely clear” that biologically male athletes would not compete
against Alanna and Ashley. This Court should reverse the district
court’s error.

      C.     CIAC’s Policy actively harms female athletes by
             discriminating against them.
      CIAC’s discriminatory Policy harms athletes like Alanna and
Ashley. The harm comes from a “discriminatory classification” that
erects a barrier preventing female athletes “from competing on an equal
footing.” See Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 211
(1995) (quoting Ne. Fla. Chapter, Associated Gen. Contractors of Am. v.
Jacksonville, 508 U.S. 656, 667 (1993)). And “[w]hen the government
erects a barrier that makes it more difficult for members of one group to
obtain a benefit than it is for members of another group, a member of

the former group seeking to challenge the barrier need not allege that
[she] would have obtained the benefit but for the barrier in order to
establish standing.” Ne. Fla. Chapter, 508 U.S. at 667; accord Pederson,

213 F.3d at 871 (comparing Title IX injuries to Equal Protection




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injuries). Thus, to have a live controversy against CIAC’s Policy, Alanna
and Ashley need show only that they face a discriminatory barrier.

      They have done so. The Policy determines eligibility to compete in
sex-specific athletic competitions solely based on “the gender
identification of [a] student in current school records and daily life

activities in the school[.]” JA149. That means that a biological male who
nonetheless self-identifies as female can compete in women’s sports.
      This classification discriminates against and harms biological

female athletes. Under this Policy, “[i]t takes little imagination to
realize that . . . the great bulk of the females [will] quickly be
eliminated from participation and denied any meaningful opportunity

for athletic involvement.” Cape v. Tenn. Secondary Sch. Athletic Ass’n,
563 F.2d 793, 795 (6th Cir. 1977), abrogated on other grounds as
recognized by Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n,
190 F.3d 705 (6th Cir. 1999). In sports, “there is an average 10–12%
performance gap between elite males and elite females.” Doriane
Lambelet Coleman & Wickliffe Shreve, Comparing Athletic

Performances: The Best Elite Women to Boys & Men, DUKE LAW: CTR.
FOR SPORTS LAW & POLICY, https://perma.cc/H29T-USY2;          accord JA33
(“[M]en, and adolescent boys, perform better in almost all sports than
women, and adolescent girls, because of their inherent physiological
advantages that develop during male puberty.”) “This advantage isn’t
simply a difference in degree—it’s not just that male athletes are


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bigger, faster, stronger—but it’s a difference in kind—pound for pound,
male bodies are more athletic.” Accommodating Transgender Athletes,

18 GEO. J. OF L. & PUB. POL’Y at 911. Given the advantages inherent in
male physiology, biological females like Alanna and Ashley are unable
to “compet[e] on an equal footing”—one of the core harms that Title IX

sought to redress. Pena, 515 U.S. at 211; O’Connor v. Bd. of Educ. of
Sch. Dist. 23, 449 U.S. 1301, 1307 (1980) (Stevens, J.) (“Without a
gender-based classification in competitive . . . sports, there would be a

substantial risk that boys would dominate the girls’ program and deny
them an equal opportunity to compete in interscholastic events.”); Clark
v. Ariz. Interscholastic Ass’n, 695 F.2d 1126, 1131 (9th Cir. 1982)

(observing that “due to average physiological differences, males would
displace females to a substantial extent if they were allowed to
compete” in female athletics); Williams v. Sch. Dist. of Bethlehem, 998
F.2d 168, 178 (3d Cir. 1993) (noting expert testimony that “if positions
on the field hockey team were open to girls and boys, eventually boys
would dominate, eliminating the opportunities of females” (cleaned up)).

That inability fails to “effectively accommodate the interests and
abilities” of female athletes. Pederson, 213 F.3d at 871.
     The Policy also gives female athletes less opportunities than male
athletes. Title IX requires that educational institutions provide female
athletes with “genuine athletic participation opportunities.” Biediger,
691 F.3d at 101 (emphasis added). Schools cannot offer “illusory”


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opportunities where female athletes have “no hope of competing or
otherwise participating meaningfully.” Id. And “[m]eaningful

participation [must] provide[ ] the opportunity to receive [a] full range
of physical and non-physical benefits”—including the opportunity to
succeed. Accommodating Transgender Athletes, 18 GEO. J. OF L. & PUB.

POL’Y at 907. Yet here, the Policy does not recognize female athletes “as
equally skillful but having certain biological disadvantages when
compared to their male counterparts.” Id. at 913.

     As a result, the Policy flatly denies girls equal “opportunities to
engage in . . . post-season competition.” McCormick, 370 F.3d at 289. In
a 2019 preliminary State Class race, for instance, Ashley placed ninth.

Yet only the top eight competitors advanced to the final State Class
championship race. Without the Policy, Ashley would have ranked
seventh and had a chance to compete in that final race.4
     More fundamentally, the Policy also “places a ceiling on the
possible achievement of the female [athletes]” and “[t]reats girls



4 Although Selina and Chelsea have graduated and do not seek
injunctive relief against the Policy’s enforcement, they suffered similar
lost opportunities that further underline the Policy’s discriminatory
impact. In a 2017 State Open Championship race, Chelsea finished
seventh, but only the top six competitors advanced to the New England
Championship. The Policy cost her this opportunity. And in 2019,
Selina ranked eighth in a preliminary State Open race that limited
advancement to the final championship race to the top seven runners.
Again, but for the Policy, Selina would have advanced.


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differently regarding a matter . . . fundamental to the experience of
sports—the chance to be champions.” Id. at 295. In a different race at

the 2019 State Open event, Alanna finished third in the final champion-
ship race, whereas she would have finished runner-up but for the
Policy.5

      As long as the Policy remains in effect, female athletes like
Alanna and Ashley will have to show up to races not knowing whether
they will face fair competition. They will feel “anxious and stressed,”

unsure whether their hard work and preparation will result only in a
loss to a biological male. JA78. Yet male athletes will train and compete
under no such shadow.

      The Policy will continue to harm Alanna and Ashley—and other
female athletes—going forward. Yearwood and Miller may have
graduated, but the Policy will continue to offer female athletes the


5 Here, too, the Policy harmed Selina and Chelsea. At the 2018 State
Open Championship race, Miller and Yearwood took the top two prizes
in a race where Chelsea and Selina finished, respectively, fourth and
sixth. But for the Policy, they instead would have ranked third and
fifth. The 2019 State Open Championship races saw similar results:
Miller and Yearwood claimed top prizes in a preliminary race, whereas
Chelsea and Selina ranked fourth and eighth—precluding Selina from
advancing to the final championship race. And in that final race,
Chelsea came in third, her “chance to be a champion” dashed by Miller
and Yearwood again taking the top two positions. But for the Policy,
Chelsea would have “made her school’s history as the first female
athlete . . . ever to be named State Open Champion.” JA156, Instead,
press referred to her as the “third-place competitor.” JA74, 156.


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chance to “participate” but not to do so meaningfully. It will continue to
sideline female athletes’ opportunities to win. And it will continue to

subject Alanna and Ashley to a system that inevitably prejudices them
by forcing them to face a level of competition that does not accom-
modate their different physiological characteristics and attributes.

     Given this barrier, Alanna and Ashley have an actual controversy
against the Policy.

     D.     Since CIAC’s discriminatory Policy harms female
            athletes, Alanna and Ashley need not identify a
            particular transgender athlete to keep this
            controversy live.
     Because CIAC’s Policy itself harms Alanna and Ashley, they “need

only demonstrate that [they are] ‘able and ready’ to compete” to seek an
injunction against the Policy. Pederson, 213 F.3d at 871. They have
done so. When Plaintiffs filed their complaint, all four—including

Alanna and Ashley—averred that they intended to compete in various
upcoming track meets. Alanna and Ashley specifically stated that they
“expect[] to compete in CIAC track and field competitions next year

[2021] and throughout [their] high school years.” JA170.
     Yet Alanna and Ashley need not identify a specific transgender
competitor. The district court erroneously concluded that Alanna and

Ashley’s claims were moot because Yearwood and Miller’s “participation
in girls’ track provided the impetus for this action,” and without another
identifiable transgender competitor, Alanna and Ashley had no interest


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in enjoining the Policy’s enforcement. JA271. Yet it is CIAC’s
discriminatory Policy, not Yearwood or Miller’s conduct, which is

challenged in this lawsuit. “In much the same way as set-aside
programs, the injury here results from the imposed barrier.” Pederson,
213 F.3d at 871. It was the Policy that allowed biological males to

compete against and deprive Alanna and Ashley of “opportunities to
engage in . . . post-season competition.” McCormick, 370 F.3d at 289.
And it was the Policy that deprived Ashley and Alanna of the “chance to

be champions.” Id. at 295.
     As with Equal Protection plaintiffs, Title IX plaintiffs do not need
to identify a specific competitor if they have sufficiently identified a

discriminatory barrier. Pederson, 213 F.3d at 871 (declaring “the
Supreme Court’s Equal Protection jurisprudence instructive” when
considering female athletes’ standing in a Title IX case). In several
Equal Protection cases, the Supreme Court has held that, “[w]hen the
government erects a barrier that makes it more difficult for members of
one group to obtain a benefit than it is for members of another group, a

member of the former group seeking to challenge the barrier need not
allege that [she] would have obtained the benefit but for the barrier in
order to establish standing.” Ne. Fla. Chapter, 508 U.S. at 666. Rather,
the injury that keeps a controversy live “is the denial of equal treatment
resulting from the imposition of the barrier, not the ultimate inability to
obtain the benefit.” Id.


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     That holds true even if the disadvantaged party can overcome the
barrier. Consider Parents Involved in Community Schools v. Seattle

School District No. 1, 551 U.S. 701 (2007). There the Supreme Court
found a live controversy from the mere fact that students would have to
“compete in a race-based system that may prejudice [them].” Id. at 719

(emphasis added). Though it was “possible that children . . . will not be
denied admission to a school based on their race,” that did not “elimi-
nate the injury claimed.” Id. In fact, even where one student had “been

granted a transfer” to his preferred elementary school, the Court noted
that he “may again be subject to assignment based on [ ] race” when he
enrolled in middle school. Id. at 719–20. That possibility sufficed to

make the case a live controversy.
     Also instructive is Adarand Constructors, Inc. v. Pena, 515 U.S.
200 (1995). There, a contractor complained that he had to compete for
federal projects in a system that advantaged bidders who employed
minority subcontractors. And “[e]ven though the contractor sought
injunctive relief, which necessarily would apply to future contracts in

which the result of its bid could not yet be known, the Court held there
was” a live controversy. Doe ex rel. Doe v. Vermillion Parish Sch. Bd.,
421 F. App’x 366, 373 (5th Cir. 2011) (discussing Adarand). The
discriminatory barrier itself, even in the face of an unknown competitor,
kept the controversy alive.




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       So too here. Alanna and Ashley have been subjected to a discrimi-
natory Policy that determines participation in women’s sports based not

on the “[i]nherent differences between men and women”—differences
that for 50 years have been recognized and respected in the course of
“advancing full development of the talent and capacities of our Nation’s”

female athletes—but instead on self-determined gender identity. See
United States v. Virginia, 518 U.S. 515, 533 (1996). This Policy allows
biologically male athletes to unfairly rob female athletes of their

“chance to be champions.” McCormick, 370 F.3d at 295. Like the female
athletes in McCormick, who wanted “a chance to compete at the
Regional and State championships” but were “denied this opportunity”

when boys were not, Alanna and Ashley have suffered a “disparity that
is substantial enough to deny equality of athletic opportunity.” Id. at
296.
       That disparity comes directly from the Policy. No matter whether
there is a transgender athlete who will compete against Alanna and
Ashley in the next track season, that does not “eliminate the injury

claimed.” Parents Involved, 551 U.S. at 719. They will have “to compete
in a . . . system that may prejudice [them].” Id. (emphasis added); cf.
Portz v. St. Cloud State Univ., 196 F. Supp. 3d 963, 973 (D. Minn. 2016)
(“Plaintiffs’ expectation that they may be treated unequally in violation
of Title IX’s terms is an irreparable harm.” (emphasis added)). And, just
as the contractor in Adarand did not know the outcome of future


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contract bids but nonetheless had an active controversy, so too do
Alanna and Ashley, even though they do not know about specific

biologically male competitors. The Policy itself provides enough harm to
keep this case live.
     The district court erred when it narrowly defined the harm needed

to keep this case live. Although the Policy continues to apply to and
harm Alanna and Ashley, the court still dismissed their case as moot
because “[t]here is no indication that Smith and Nicoletti will encounter

competition by a transgender student in a CIAC-sponsored event next
season.” JA271. And although it is “theoretically possible that a
transgender student could” compete, the court faulted Alanna and

Ashley for failing to show that such a competitor would “run[ ] in the
same events and achiev[e] substantially similar times.” JA271.
     That was error. Courts have allowed Title IX suits to move
forward if a plaintiff demonstrated unequal treatment—even if “the
chain of potential events” is not “air-tight or even probable.” See Barry
v. Lyon, 834 F.3d 706, 716 (6th Cir. 2016). In Boucher, female lacrosse

and softball players sued a university for failing to field their teams as
varsity. Boucher v. Syracuse Univ., 164 F.3d 113, 115–16 (2d Cir. 1999).
Yet “[n]either the district court nor [this Court] discussed whether any
of the students possessed the skills necessary to make one of the
unfielded varsity teams.” Pederson, 213 F.3d at 871 (discussing
Boucher). Indeed, this Court “never even questioned [the female


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athletes’] standing to bring effective accommodation claims” under Title
IX. Id. What mattered was that the athletes faced and suffered from a

discriminatory barrier.
     Alanna and Ashley face such a barrier here. Without an injunction
against the Policy, they will show up to each race not knowing whether

they will face “bigger, faster, and stronger male competitors.” JA71.
They will not know whether their preparation will translate into a fair
“chance to be [a] champion[ ]” or if male competition will unfairly rob

them of that benefit. McCormick, 370 F.3d at 295. These harms come
from the Policy. Accordingly, Alanna and Ashley need not show a
specific transgender competitor, let alone one who will run against them

and achieve “substantially similar times.” JA271. The district court
therefore erred when it held them to this stricter standard and
dismissed the case as moot.

     E.     Biological males have competed in women’s sports for
            the last 3 years. It is more than theoretically possible
            that they will continue to do so.
     Although the Policy itself harms Alanna and Ashley—regardless
of whether a transgender athlete actually competes—the likelihood that
Alanna and Ashley will face such a competitor is not speculative. Over
the last 3 years, biological males have competed in women’s sports in
Connecticut. As noted above, that is “not a fluke.” Re-Affirming the
Value of the Sports Exception, 27 DUKE J. OF GENDER L. & POL’Y at 116.



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“As [transgender] students . . . are increasingly comfortable coming out
at school . . . the number of ‘out’ trans kids is growing beyond the small

percentages described in earlier population surveys.” Id. at 115. That
growth “appears to be an upward trajectory” that shows no signs of
decline. Id. Thus, it is more than theoretically possible that Alanna and

Ashley will face a biologically male competitor; it is likely.
      And it’s also likely—not speculative—that Alanna and Ashley will
lose to such a competitor. Biological “sex is outcome determinative.” Id.

at 117. “[I]t is well-established that athletic but not necessarily elite
males dominate females in almost every sport and event, which is true
without regard to how individuals identify.” Id. at 115–16. Plaintiffs’

experience in Connecticut bears this out. In seven important state-level
events, biologically male athletes won 13 out of 14 championships,
leaving a biological female athlete to win just one.

      F.     Alanna and Ashley’s claims are “capable of relief yet
             evading review.”
      This Court should also reverse dismissal of Alanna and Ashley’s
claims because the harms they have suffered are “capable of repetition,

yet evading review.” United States v. Sanchez-Gomez, 138 S. Ct. 1532,
1540 (2018) (cleaned up). This exception to the mootness doctrine
applies where “(1) the challenged action is in its duration too short to be

fully litigated prior to its cessation or expiration, and (2) there is a




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reasonable expectation that the same complaining party will be subject
to the same action again.” Id. (cleaned up).

     Alanna and Ashley satisfy both requirements. Athletes like
Alanna and Ashley have but a “finite period of time in which to
compete.” Barrett v. West Chester Univ. of Pa. of State Sys. of Higher

Educ., 2003 WL 22803477, at *14 (E.D. Pa. Nov. 12, 2003). Once the
track season starts, should a biological male decide to compete in girls’
events, Alanna and Ashley will not have enough time to obtain judicial

intervention before they will have to run against—and likely lose to—
that biological male.
     This litigation—filed in February 2020—starkly illustrates that

reality. Defendants were not required to answer Plaintiffs’ complaint for
six months. Meanwhile, an entire track season elapsed. And although
Plaintiffs tried to preclude this possibility when they moved for a
preliminary injunction concurrent with their complaint, the district
court never ruled on the motion. So the district court’s assertion that
“Smith and Nicoletti will be able to file a new action under Title IX

along with a motion for a preliminary injunction” rings hollow. JA275;
cf. Ohlensehlen v. Univ. of Iowa, 2020 WL 7651974, at *10 (S.D. Iowa
Dec. 24, 2020) (holding that female athletes would suffer irreparable
harm if university did not reinstate their team immediately because
“[c]ivil cases ordinarily take many months—more often than not, years”




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at which point “waiting until after trial to reinstate the team will be too
late”).

      Not only that, but the district court’s logic “give[s] insufficient
consideration to the unique circumstances [interscholastic] athletes
face, making short shrift of the brief time-span in which they are

permitted to compete and failing to consider the loss that even a year of
competition would have on the skills and competitiveness of elite . . .
athletes such as [Plaintiffs].” Biediger v. Quinnipiac Univ., 616 F. Supp.

2d 277, 292 (D. Conn. 2009). Alanna and Ashley are rising seniors. They
have two track seasons remaining. If six months separate a future
complaint from an answer, Alanna and Ashley will graduate before the

courts can provide any effective relief. The Policy’s injury to them is
thus too short in duration to be litigated before the controversy expires.
      And Alanna and Ashley will experience that same harm again. To
demonstrate a “reasonable expectation” that the harm will recur,
Alanna and Ashley must show that they “possibly could [find
themselves] once again in the same situation [they] faced when [the]

suit was filed.” Barry, 834 F.3d at 716. They need not show, as the
district court held, “that a recurrence of the dispute [is] more probable
than not.” Honig v. Doe, 484 U.S. 305, 318 n.6 (1988).
      They easily clear that “reasonable expectation” bar. Even if a
transgender athlete does not compete in female sports, Alanna and
Ashley will certainly “compete in a . . . system that may prejudice


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[them].” Parents Involved, 551 U.S. at 719 (emphasis added). And, as
argued above, there’s a reasonable expectation that they will actively

suffer the effects of that prejudicial system. The number of openly
transgender students continues to grow. Re-Affirming the Value of the
Sports Exception, 27 DUKE J. OF GENDER L. & POL’Y at 115. Prominent

organizations continue to advocate that the biological sex distinction
preserved in Title IX should be eradicated. E.g., ACLU Statement on
Revoking of Title IX Guidance for Transgender Students & Impact on

Gavin Grimm Supreme Court Case, ACLU (Feb. 22, 2017) (advocating a
gender-identity-based interpretation of Title IX over a sex-based
interpretation). Given these factors, Alanna and Ashley will likely face

competition from a biologically male athlete.

III. CIAC intentionally enacted a Policy that discriminated
     against female athletes. CIAC did not need prelitigation
     notice that its actions violated Title IX. It had that notice
     nonetheless.

     A.     Standard of Review
     This Court reviews de novo the district court’s dismissal of

Plaintiffs’ monetary claims. Papelino v. Albany Coll. of Pharmacy of
Union Univ., 633 F.3d 81, 88 (2d Cir. 2011).




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      B.     Educational institutions like CIAC and its member
             schools do not need prelitigation notice that their acts
             violate Title IX when they intentionally enact
             discriminatory athletic policies.
      Congress enacted Title IX pursuant to its spending authority. “In

Pennhurst State School and Hospital v. Halderman, the [Supreme]
Court observed that remedies were limited under such Spending Clause
statutes when the alleged violation was unintentional.” Franklin v.

Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 74 (1992) (cleaned up); accord
Mansourian, 602 F.3d at 966 (Pennhurst “precludes the award of
damages for unintentional violations of statutes, like Title IX, enacted
pursuant to Congress’s spending authority”). Thus, in some private
rights of action under Title IX, the Court has held that “a damages
remedy will not lie . . . unless an official who . . . has authority to

address the alleged discrimination and to institute corrective measures
. . . has actual knowledge of discrimination . . . and fails adequately to
respond.” Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290

(1998).
      But “pre-litigation notice of an alleged violation” is not “a
prerequisite to recovery in every Title IX case.” Mansourian, 602 F.3d

at 967. Prelitigation notice is needed only “in cases . . . that do not
involve official policy of the recipient entity.” Gebser, 524 U.S. at 290
(emphasis added); accord, e.g., Mansourian, 602 F.3d at 967 (“Proof of
actual notice is required only when the alleged Title IX violation



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consists of an institution’s deliberate indifference to acts that do not
involve official policy of the [institution].” (cleaned up)). When an

educational institution “intentionally violates” Title IX, the notice
“limitation on private damages actions is not a bar to liability.” Jackson
v. Birmingham Bd. of Educ., 544 U.S. 167, 182 (2005).

       And “[schools’] decisions with respect to athletics are . . . easily
attributable to the [institution] and [are] always—by definition—
intentional.” Mansourian, 602 F.3d at 968 (quoting Jackson, 544 U.S. at

183); accord Pederson, 213 F.3d at 882 (holding that the notice
requirement “is not applicable for purposes of determining whether an
academic institution intentionally discriminated on the basis of sex by

denying females equal athletic opportunity”). “Institutions, not
individual actors, decide how to allocate resources between male and
female athletic teams. Decisions to create or eliminate teams or to add
or decrease roster slots for male or female athletes are official decisions,
not practices by individual students and staff.” Mansourian, 602 F.3d at
968.

       So, too, are decisions to allow biological males to compete in girls’
events. That decision reflects CIAC’s official position. Like all other
official athletic policies, it bears an institutional imprimatur. It did not
arise by accident, nor was it enacted by “individual students [and]
staff.” Id. Unlike sexual harassment cases—where an educational
institution might not know about the actions of its individual agents—


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here it was CIAC itself that adopted the discriminatory Policy. This
athletic decision that “fail[s] effectively to accommodate students of

both sexes thus represent[s] ‘official policy of the recipient entity’ and so
[is] not covered by Gebser’s notice requirement.” Mansourian, 602 F.3d
at 968 (quoting Gebser, 524 U.S. at 290).

     By intentionally enacting a discriminatory Policy, Defendants
have failed “effectively to accommodate students of both sexes.” Id. A
“notice problem does not arise in a case such as this, in which

intentional discrimination is alleged.” Jackson, 544 U.S. at 182–83. The
district court erred when it ruled otherwise.

     C.     Title IX’s text—and the Supreme Court’s mandate to
            interpret it broadly—put CIAC and its member
            schools on notice that a private cause of action could
            allege even “unprecedented” forms of intentional sex
            discrimination.
     Title IX forbids “intentional sex discrimination.” Jackson, 544 U.S.
at 173. “[I]ntentional conduct” therefore “violates the clear terms of the

statute.” Davis ex rel. LaShonda D. v. Monroe Cnty. Bd. of Educ., 526
U.S. 629, 642 (1999). So when an educational institution acts inten-
tionally, “Title IX itself” supplies “sufficient notice.” Jackson, 544 U.S.

at 183.
     That’s true even if the intentional conduct violates Title IX in
“unprecedented” ways. The Supreme Court’s “cases since Cannon, such
as Gebser and Davis, have consistently interpreted Title IX’s private



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cause of action broadly to encompass diverse forms of intentional sex
discrimination.” Jackson, 544 U.S. at 183. In Jackson, for instance, a

teacher sued his school system under Title IX, alleging that the school
had retaliated against him after he reported sexual discrimination. The
school tried to argue that it lacked notice that such retaliation would

violate Title IX, but the Supreme Court admonished that “the [school]
should have been put on notice” that its intentional conduct violated
Title IX because the Court had “consistently interpreted Title IX’s

private cause of action broadly to encompass diverse forms of
intentional sex discrimination.” Id. at 183.
      To get around this clear statement of law, CIAC and its member

schools dress up a merits argument as a notice problem. They cannot
argue that the Policy represents unintentional action. After all,
“[schools’] decisions with respect to athletics are . . . easily attributable
to the [institution] and [are] always—by definition—intentional.”
Mansourian, 602 F.3d at 968 (quoting Jackson, 544 U.S. at 183); accord
Pederson, 213 F.3d at 882. So Defendants instead argue that, even

though their conduct was intentional, its discriminatory effects were
not—and because the effects were unintentional, CIAC and the member
schools lacked sufficient notice that their conduct violated Title IX.
      But the Supreme Court has consistently rebuffed that argument.
Jackson again proves illustrative. There, the school system tried to
argue that, even though its conduct—retaliation—was intentional, any


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ensuing discrimination was not. Although the school presented this
argument as a notice issue, the Supreme Court rejected that characteri-

zation. For notice purposes, the Court reaffirmed that, so long as the
school’s conduct was intentional, it had sufficient notice that it could
face liability under Title IX—regardless of whether that conduct’s effects

were intentional. “Funding recipients have been on notice that they
could be subjected to private suits for intentional sex discrimination
under Title IX since 1979, when we decided Cannon.” Jackson, 544 U.S.

at 182.
       Perhaps Defendants did not intend that the Policy would
discriminate against female athletes. The schools that discriminated

against female athletes by “allocat[ing] resources between male and
female athletic teams” would have claimed the same. Mansourian, 602
F.3d at 968. So too would the schools that made “[d]ecisions to create or
eliminate teams or to add or decrease roster slots for male or female
athletes.” Id. But those schools’ intentions did not matter for purposes
of notice; their conduct did. Likewise, Defendants here cannot claim

that they lacked notice that their intentional actions might violate Title
IX.6


6The different agency interpretations of institutions’ obligations under
Title IX is also relevant for whether CIAC and its member schools
actually violated Title IX, not whether they had notice that an official
policy could give rise to a private action. Nearly all the cases cited by
the district court on this point involved an institution’s liability under

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IV.   The district judge has displayed unfair bias that would
      lead an objective observer to question his impartiality.
      This court should reassign the case on remand.

      A.     Governing Legal Standards
      “To reassign a case on remand, [this Court] need only find that the
facts might reasonably cause an objective observer to question the

judge’s impartiality, or absent proof of personal bias requiring
recusation [sic], that reassignment is advisable to preserve the
appearance of justice.” Ligon, 736 F.3d at 128. So long as a reasonable
observer would question the district judge’s partiality, this Court need
not find that the judge should have recused. This Court has, in fact,
reassigned cases “[e]ven where there is reason to believe that a district

judge would fairly conduct further proceedings on remand.” Id.
      This is a lower standard than what Plaintiffs faced when they
previously sought mandamus on this issue. And while “not an everyday

occurrence,” reassignment “is not unusual in this Circuit.” Id. It “does
not imply any personal criticism of the trial judge.” Id. Instead,
“reassignment is simply a mechanism that allows the courts to ensure

that cases are decided by judges without even an appearance of
partiality.” Id. at 129.




Title IX, not notice.


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     B.     The district judge weighed in on the ultimate issue in
            this case. His comments would cause a reasonable
            observer to question his partiality.
     A district judge can betray an appearance of partiality when he

weighs in on “the ultimate issue to be determined by a jury.” Haines,
975 F.2d at 98. By asserting what is more consistent with “science,”
that is exactly what the district judge did here. Plaintiffs presented a

case predicated on CIAC’s discriminatory Policy that allows biological
males to compete in women’s athletic events. That case depends in part
on human biology and the substantial advantages inherent in male
physiology. Yet the district judge declared those subjects off limits:
“[t]his isn’t a case involving males who have decided that they want to
run in girls’ events. This is a case about girls who say that transgender
girls should not be allowed to run in girls’ events.” JA104. To the
district judge, this case was about gender identity and not, as Plaintiffs
claimed, biology. The court essentially dismissed Plaintiffs’ characteri-
zation of the case and substituted his own.
     The district judge went further. Not only did he recharacterize the
case, but he castigated Plaintiffs’ theory as “bullying” and contrary to
“human decency.” JA107. Again weighing in on the ultimate issue to be
decided by a jury, the district judge described his own theory as “more
accurate” and “consistent with science” than Plaintiffs’—even though

science plays a central role in Plaintiffs’ case. Id.; see also JA29–66; Re-
Affirming the Value of the Sports Exception, 27 DUKE J. OF L. & GENDER


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POL’Y at 87–88 (“To say . . . that it is ‘myth’ [or] ‘outdated stereotype’
that males, including trans women and girls not on gender affirming

hormones, are ‘better’ in sport than females is simply to deny science.”).
      Consistent with his reframed theory, the district judge, acting on
his own authority and without hearing any argument on the matter,

mandated that Plaintiffs’ counsel “refer to the [transgender athletes
not] as ‘males’” but rather as “transgender females.” JA107. Even after
Plaintiffs’ counsel submitted that the court’s order would conflict with

his duty to vigorously represent Plaintiffs’ position, the court dismissed
the concern as “unfortunate” and suggested that Plaintiffs take the
issue to “the Court of Appeals.” Id.

      Based on these comments, a reasonable observer would question
the district judge’s partiality. United States v. Wedd, 993 F.3d 104, 114
(2d Cir. 2021) (quoting United States v. Thompson, 76 F.3d 442, 451 (2d
Cir. 1996)). Biological science and the bright-line physiological
differences between male and female bodies are at the heart of
Plaintiffs’ case. JA29–66. For instance, Plaintiffs intend to show that

“[i]t is fact, not myth or stereotype, that beginning at the onset of male
puberty, an insurmountable performance gap between males and
females emerges such that even the very best females are not
competitive for the win against males, including against second-tier
males.” Re-Affirming the Value of the Sports Exception, 27 DUKE J. OF L.
& GENDER POL’Y at 115. Yet, by weighing in on this “ultimate issue to be


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determined by a jury,” Haines, 975 F.2d at 98, the district judge left no
question as to where he stood on the issue. Not only that, but he likened

Plaintiffs’ theory as contrary to “science, common practice and perhaps
human decency.” JA107. He discredited Plaintiffs’ theories before they
even had a chance to develop—and that partially because he never

ruled on Plaintiffs’ request for a preliminary injunction, or even
required Defendants to brief a response to it. This behavior revealed “a
high degree of . . . antagonism as to make fair judgment impossible.”

Liteky v. United States, 510 U.S. 540, 555 (1994). To preserve the
“appearance of justice,” this Court should reassign the case on remand.
Ligon, 736 F.3d at 128.

     The fact that the district judge even ventured into these waters
would make a reasonable observer question his partiality. No party
asked the district judge to reframe the Plaintiffs’ case; he took that role
upon himself. But that is not the district judge’s job. Federal courts
“rely on the parties to frame the issues.” United States v. Sineneng-
Smith, 140 S. Ct. 1575, 1579 (2020). It is litigants—not courts—that

advance “theories and ideas.” Legal Servs. Corp. v. Velazquez, 531 U.S.
533, 548 (2001). By crossing that line here, the district judge abandoned
his role as “neutral arbiter.” Sineneng-Smith, 140 S. Ct. at 1579.




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     C.     The district judge’s dismissal of female athletic
            achievement would further cause a reasonable
            observer to question his partiality.
     The district court’s attitudes toward female athletic achievements

reinforce the appearance that he has prejudged this case. For instance,
Plaintiffs sought an injunction that would correct athletic records to
appropriately celebrate Plaintiffs’ athletic achievements. Not only

would these corrected records confer Plaintiffs with the recognition they
deserve, but such records would also give Plaintiffs a better chance at
college recruitment and future employment—especially Chelsea, who
could then claim championship victories otherwise denied her under the
Policy. Yet the district judge dismissed the effect of the corrected
records as speculative guesswork. To the district court, a recorded
championship “might well have no bearing on [Chelsea’s] employment
prospects.” JA278.
     No objective observer would consider a championship title so small
as to have only hypothetical effect on employment prospects. Though
female athletes have long had their achievements trivialized, Title IX
has come a long way in reversing this misogyny. Cheering on Women
and Girls in Sports, 110 HARV. L. REV. at 1630. And though Title IX has
not completely eradicated archaic assumptions about female athletes’
achievements, its advances have nonetheless made clear that “[t]he

proposition that females don’t need to be competitive for the win is no
longer viable.” Re-Affirming the Value of the Sports Exception, 27 DUKE


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J. OF GENDER L. & POLICY at 119. The district judge’s invocation of an
outdated logic betrays, at the very least, an appearance of partiality.

     Moreover, the district judge also dismissed Plaintiffs’ concerns
because, even if the records are corrected, “it seems inevitable that . . .
prospective employer[s] impressed by [Plaintiffs’] record would learn

that she did not actually finish first,” so her employment prospects
would remain the same. JA277 (emphasis added). Again the district
judge’s logic hearkens to the very prejudice that Title IX sought to

eradicate. “The proposition that showcasing strong female-bodied
champions is not a high value social good is no longer viable.” Re-
Affirming the Value of the Sports Exception, 27 DUKE J. OF GENDER L. &

POLICY at 119. The district judge had no reason to invoke it here.
     Taken together, “[t]he cumulative effect[s] of [the] judge’s
individual actions” and “comments . . . could raise some question about
impartiality.” In re Martinez-Catala, 129 F.3d 213, 221 (1st Cir. 1997).
An objective observer would conclude that the district judge betrayed
the appearance of partiality. Indeed, “the circumstances . . . are such

that upon remand [the district judge] . . . cannot reasonably be expected
to erase the earlier impressions from his . . . mind.” United States v.
Robin, 553 F.2d 8, 10 (2d Cir. 1977) (en banc) (per curiam). That is all
that is needed for this Court to reassign the case on remand. United
States v. Quattrone, 441 F.3d 153, 193 (2d Cir. 2006) (reassigning on
remand when “portions of the transcript raise the concern that certain


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comments could be viewed as rising beyond mere impatience or
annoyance” (emphasis added)). This Court should do so to preserve the

“appearance of justice.” Ligon, 736 F.3d at 128.

                             CONCLUSION
      Almost 50 years ago, Title IX paved the way for female athletes to

experience, in unprecedented ways, “the thrill of victory [and] the agony
of defeat.” Neal, 198 F.3d at 773. Yet CIAC’s discriminatory Policy
subjects female athletes to the “agony of defeat” with much diminished
hope for “the thrill of victory.” Athletes like Selina Soule, Chelsea
Mitchell, Alanna Smith, and Ashley Nicoletti deserve the protections
that Title IX promise them—protections like “genuine athletic

participation opportunities,” Biediger, 691 F.3d at 101, and the “chance
to be champions,” McCormick, 370 F.3d at 295. They have a concrete
grievance against a system that subjugates their athletic opportunities

to biological males’.
      Moreover, these female athletes also deserve to have their athletic
achievements recognized. At present, athletic records retained by CIAC

and its member schools feature biological males occupying winning
positions in the girls’ division. Those records rob Plaintiffs of the
recognition they deserve. They also jeopardize Plaintiffs’

competitiveness with college recruiters and future employers.




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     CIAC enacted a Policy that discriminates against female athlete’s
interests. Though CIAC undoubtedly contests that this Policy does, in

fact, discriminate, that question must be resolved by a jury, not by a
district court under the guise of a notice problem. For nearly 50 years,
educational institutions like CIAC have known that they could be liable

under Title IX for intentional acts that have discriminatory effects. Ath-
letic policies are always intentional. CIAC cannot say it lacked notice.
     Finally, the district judge has openly expressed hostility against

Plaintiffs’ theory of the case. He has done so in a way that betrays, at
the very least, an appearance of partiality. No reasonable observer
would examine the judge’s actions and words and then conclude that he

could adjudicate this case fairly.
     This Court should therefore reverse the district court’s order
granting Defendants’ motion to dismiss, remand the case for further
proceedings, and reassign the matter to a different district judge.
                                       Respectfully submitted,

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July 9, 2021




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                     CERTIFICATE OF SERVICE

     I hereby certify that on July 9, 2021, this brief was filed
electronically with the Clerk of the Court for the United States Court of
Appeals for the Second Circuit through the Court’s CM/ECF system. I
certify that all participants in the case who are registered CM/ECF

users will be served by the appellate CM/ECF system.




                                       /s/ John J. Bursch
                                       John J. Bursch




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                  CERTIFICATE OF COMPLIANCE

     This brief complies with the word limit of Local Rule 32.1(a)(4)(A)
because, excluding the portions exempted by Fed. R. App. R. 32(f), this
brief contains 12,555 words.
     This brief also complies with the typeface requirements of Fed. R.

App. P. 32 (a)(5) and the type-style requirements of Fed. R. App. P.
32(a)(6) because this brief has been prepared in a proportionally spaced
typeface using Microsoft Word in 14-point Century Schoolbook font.



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